         Case 8:23-mc-00014-WFJ-SPF Document 47-1 Filed 11/09/23 Page 1 of 3 PageID 361

                               EVIDENCE COLLECTED ITEM LOG
                        Return/Production Status Report as of November 9, 2023

                                                                          Return/Production
Item #                    Description
                                                                                 Status
  1       One (1) gray iPhone on dresser               RETURNED media files (videos and photos), 11-9-2023
          One (1) gray Apple laptop, Model A2681,      ITEM RETURNED and information deleted from
  2       Serial number FDK2WQY91Y with charging       government systems, 9-15-2023
          cable on coffee table
          One (1) gray Apple laptop, Model A1278,      Folders and files that predate August 22, 2022, 9-15-2023;
  3       Serial number C1MH3DJ9DV13 with power        RETURNED folders and files that postdate February 20,
          cord, on desk                                2022, 10-25-2023
          One (1) gray Macbook Air, Model A1466,       Folders and files that predate August 22, 2022, 9-15-2023;
  4       Serial number C02MM0SNFLCG with              RETURNED folders and files that postdate February 20,
          power cord on desk                           2022, 10-25-2023
          One (1) gray Apple laptop Serial number      ITEM RETURNED and information deleted from
  5
          W80199B7AGZ with power cord on table         government systems, 10-6-2023
          One (1) black rackmount PC on table - NVMe   Returned website code for burke-communications.com,
                                                       mocksession, and lynnhurtak.com, 7-27-2023; returned
                                                       MySQL database files for above websites, 9-13-2023; folders
  6
                                                       and files that predate February 20, 2022, 9-28-2023;
                                                       RETURNED folders and files that postdate February 20,
                                                       2022, 11-9-2023
          One (1) black rackmount PC on table - HDD    Folders and files that predate February 20, 2022, 9-28-2023;
  6                                                    RETURNED folders and files that postdate February 20,
                                                       2022, 11-9-2023
          One (1) black rackmount PC on table –        Folders and files that predate August 22, 2022, 9-15-2023;
  7       Samsung NVMe                                 RETURNED folders and files that postdate February 20,
                                                       2022, 10-25-2023
          One (1) black rackmount PC on table – SSD    Folders and files that predate August 22, 2022, 8-9-2023;
  7                                                    RETURNED folders and files that postdate February 20,
                                                       2022, 10-25-2023
          One (1) black rackmount PC on table – RAID   Folders and files that predate February 20, 2022, 10-12-23;
  7                                                    RETURNED folders and files that postdate February 20,
                                                       2022, 11-9-2023
     Case 8:23-mc-00014-WFJ-SPF Document 47-1 Filed 11/09/23 Page 2 of 3 PageID 362

                           EVIDENCE COLLECTED ITEM LOG
                    Return/Production Status Report as of November 9, 2023

      One (1) white computer tower on floor –     Folders and files that predate February 20, 2022, 9-15-2023;
8     RALLY RAID                                  RETURNED folders and files that postdate February 20,
                                                  2022, 11-9-2023
      One (1) white computer tower on floor –     Folders and files that predate February 20, 2022, 9-28-2023;
8     NVMe 960                                    RETURNED folders and files that postdate February 20,
                                                  2022, 11-9-2023
      One (1) white computer tower on floor –     Folders and files that predate February 20, 2022, 9-28-2023;
8     NVMe 970                                    RETURNED folders and files that postdate February 20,
                                                  2022, 11-9-2023
      One (1) white computer tower on floor –     Folders and files that predate February 20, 2022, 10-25-2023;
8     HDD RAID (8 Drives)                         RETURNED folders and files that postdate February 20,
                                                  2022, 11-9-2023
      One (1) white computer tower on floor –     Folders and files that predate February 20, 2022, 10-12-23;
8     HDD 9                                       RETURNED folders and files that postdate February 20,
                                                  2022, 11-9-2023
      One (1) white computer tower on floor –     Folders and files that predate February 20, 2022, 9-28-2023;
8
      HDD 10
      One (1) gray Apple laptop, Model A1369,     ITEM RETURNED and information deleted from
9
      Serial number C02GK596DJWT on floor         government systems, 10-6-2023
      One (1) gray Lacie external hard drive on   Folders and files that predate February 20, 2022, 10-12-23;
10    server rack                                 RETURNED folders and files that postdate February 20,
                                                  2022, 11-9-2023
      One (1) gray Apple laptop, Model A1708,     ITEM RETURNED and information deleted from
12    Serial number C02V94BZHV22 with charging    government systems, 10-6-2023
      cord on the left side of desk
      One (1) black PC tower on floor             Folders and files that predate August 22, 2022, 8-9-2023;
14                                                RETURNED folders and files that postdate February 20,
                                                  2022, 10-25-2023
      Three (3) notebooks from bookshelf          ITEM RETURNED and information deleted from
15
                                                  government systems, 10-12-2023
      One (1) notebook from kitchen counter       ITEM RETURNED and information deleted from
16
                                                  government systems, 10-12-2023
      Case 8:23-mc-00014-WFJ-SPF Document 47-1 Filed 11/09/23 Page 3 of 3 PageID 363

                            EVIDENCE COLLECTED ITEM LOG
                     Return/Production Status Report as of November 9, 2023

       One (1) Crucial solid state drive Serial       Folders and files that predate August 22, 2022 (partial),
17     number 2136E5CF4SCB from server rack           8-9-2023; ITEM RETURNED and information deleted from
                                                      government systems, 9-28-2023
       One (1) Apple iPhone Model Al387, white-on     ITEM RETURNED and information deleted from
18
       desk;                                          government systems, 10-6-2023
       One (1) Apple iPhone Model A1660, black-on     Videos and photos that predate February 20, 2022, 10-25-
18     desk                                           2023; RETURNED media files (videos and photos), 11-9-
                                                      2023
       one (l) Apple iPhone, Model A1660, silver-on   ITEM RETURNED and information deleted from
18
       desk                                           government systems, 10-18-2023
       One (1) black ORICO external hard drive        ITEM RETURNED and information deleted from
19
       with power cord under desk                     government systems, 8-9-2023
       One (1) black ASUS PC Serial number            Folders and files that predate August 22, 2022 (partial),
20     CCPDCG0019WM - HDD                             8-9-2023; (complete) 8-17-2023; RETURNED folders and
                                                      files that postdate February 20, 2022, 10-25-2023
       One (1) black ASUS PC Serial number            Folders and files that predate August 22, 2022, 8-17-2023;
20     CCPDCG0019WM - SSD                             RETURNED folders and files that postdate February 20,
                                                      2022, 10-25-2023
       One (1) Crucial solid state drive in black     Folders and files that predate August 22, 2022,
21     enclosure Serial 2039E4B257CF with USB         8-9-2023; ITEM RETURNED and information deleted from
       cable on the desk                              government systems, 9-28-2023
       One (1) Crucial solid state drive Serial       Folders and files that predate August 22, 2022,
22     number 2151E5F56D90 on bookshelf               8-9-2023; ITEM RETURNED and information deleted from
                                                      government systems, 9-28-2023
       One (1) black mini PC S/N 2239E66E7B           Folders and files that predate August 22, 2022,
23     from desk                                      8-9-2023; ITEM RETURNED and information deleted from
                                                      government systems, 9-28-2023
       One (1) black Hitachi 500GB hard drive S/N     Folders and files that predate August 22, 2022 (partial),
24     80G3XZLC with two cords on top of 8            8-9-2023; RETURNED folders and files that postdate
                                                      February 20, 2022, 11-9-2023
DE1    One (1) PNY 64GB USB3 gray                     N/A (internal work product)
